                    Case 19-11466-MFW   Doc 4944-1   Filed 11/02/23   Page 1 of 7




                                         EXHIBIT 1

                                          Stipulation




51161451.4 11/01/2023
                      Case 19-11466-MFW              Doc 4944-1         Filed 11/02/23         Page 2 of 7




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

In re:                                                             ) Chapter 11
                                                                   )
CENTER CITY HEALTHCARE, LLC d/b/a                                  )
HAHNEMANN UNIVERSITY HOSPITAL, et                                  ) Case No. 19-11466 (MFW)
al.,1                                                              )
                                                                   )
                                        Debtors.                   ) Jointly Administered


                          STIPULATION BETWEEN DEBTORS AND JOELLE LEONE
                           AND MICHAEL WINN REGARDING ALLOWED CLAIM

               This Stipulation between Debtors and Joelle Leone and Michael Winn Regarding Allowed

  Claim (the “Stipulation”) is made and entered into as of the 17th day of October, 2023 between

  the above-captioned debtors and debtors-in-possession (collectively, the “Debtors”) and Joelle

  Leone and Michael Winn (collectively, the “Claimants” and together with the Debtors, the

  “Parties”), by and through their respective duly authorized undersigned counsel.

                                                     INTRODUCTION

               WHEREAS, on June 30 and July 1, 2019 (collectively, the “Petition Date”), each Debtor

  commenced a case by filing a voluntary petition for relief under chapter 11 of title 11 of the United




  1
               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
               are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
               L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
               L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
               L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
               IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
               Street, 4th Floor, Philadelphia, Pennsylvania 19102.



  51161451.4 11/01/2023
                    Case 19-11466-MFW           Doc 4944-1        Filed 11/02/23       Page 3 of 7




States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of

Delaware (the “Court”);

             WHEREAS, the Debtors are operating their businesses and managing their affairs as

debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code;

             WHEREAS, on or about September 5, 2018, the Claimants filed a complaint with the

United States District Court for the Eastern District of Pennsylvania, under the caption Joelle

Leone and Michael Winn, et al. v. American Academic Health System, LLC, et al., Case No. 2:18-

cv-03769-PD, asserting claims against “Hahnemann University Hospital”2 for alleged violations

of federal and state wage laws (the “Action”);

             WHEREAS, the Action was further referred to an arbitration proceeding before the

American Arbitration Association, captioned Joelle Leone and Michael Winn, et al. v. American

Academic Health System, LLC, et al., Case No. 01-18-0004-3235 (the “Arbitration Proceeding”);

             WHEREAS, the Debtors deny any and all liability with respect to, and contest the merits

of, the Action;

             WHEREAS, on or about July 28, 2020, filed a proof of claim against Debtor Center City

Healthcare, LLC d/b/a Hahnemann University Hospital (“CCH”) in the amount of $146,378.00,

the entirety of which is asserted as a general unsecured claim, and which is reflected on CCH’s

claims registry as claim number 722 (“Claim 722” or the “Asserted Claim”);

             WHEREAS, the Parties have conferred and seek to resolve the Asserted Claim and the

Action, as set forth herein.




2
             “Hahnemann University Hospital” is a d/b/a name for Debtor Center City Healthcare, LLC.

                                                           2
51161451.4 11/01/2023
                    Case 19-11466-MFW          Doc 4944-1      Filed 11/02/23     Page 4 of 7




             NOW, THEREFORE, in consideration of the mutual promises and agreements contained

herein, and in resolution of the Asserted Claim and the Action, the Parties hereby contract,

covenant and agree, subject to Bankruptcy Court approval as set forth herein, as follows:

                                                 STIPULATION
             1.         Each of the Recitals set forth above is incorporated herein by reference.

             2.         This Stipulation is subject to and conditioned upon the entry of a final, non-

appealable order of the Court approving this Stipulation (the “Stipulation Effective Date”). In the

event that the Stipulation Effective Date does not occur, this Stipulation shall be deemed null and

void and of no force or effect. In such event, nothing (including the Recitals) contained in this

Stipulation, any motion or certification filed seeking an order from the Court approving this

Stipulation, or any correspondence or other communications related to the negotiations, drafting

or approval of this Stipulation, shall be argued or deemed to be an admission against any Party’s

interest in any litigation by and between any parties, and the Parties shall be automatically returned

to their respective positions status quo ante.

             3.         On account of, and in full satisfaction of the Asserted Claim, Claim 722 shall be

allowed as a claim against CCH in the total amount of $32,000.00, of which $30,593.27 shall be

an allowed general unsecured claim and the remainder, in the amount of $1,406.73, shall be an

allowed priority claim.

             4.         The Allowed Claim shall be paid in accordance with the terms of any confirmed

chapter 11 plan or plans in these cases.

             5.         Other than the Allowed Claim, the Claimants shall have no other allowed claims

against any of the Debtors, whether filed or scheduled, including, but not limited to, claims relating

to any causes of action alleged or which could have been alleged in the Asserted Claim or the

Action. The Claimants shall not be entitled to any distributions from any of the Debtors, their

                                                         3
51161451.4 11/01/2023
                    Case 19-11466-MFW          Doc 4944-1      Filed 11/02/23     Page 5 of 7




estates or any of the Debtors’ successors, other than on account of the Allowed Claim. The

Claimants shall not amend any previously filed claims and shall not assert any additional claims

against any of the Debtors on account of pre-petition or post-petition periods.

             6.         Within five (5) business days after the Stipulation Effective Date, the Claimants

shall dismiss the Action (including the Arbitration Proceeding), with prejudice and without costs.

             7.         The Parties are authorized to take any and all actions necessary to effectuate this

Stipulation.

             8.         This Stipulation is the entire agreement between the Debtors and the Claimants with

respect to the subject matter hereof. This Stipulation supersedes any and all agreements, whether

written or oral, that may have previously existed between the Parties with respect to the matters

set forth herein. No statements, promises, or representations have been made by any Party to any

other, or relied upon, and no consideration has been offered, promised, expected or held out other

than as expressly provided for herein.

             9.         The Parties, by and through their undersigned counsel, each represent and warrant

that the undersigned is fully authorized and empowered to execute and deliver this Stipulation on

behalf of, and to bind, each Party, as applicable, to the terms and conditions of this Stipulation;

provided, however, that the Debtors’ authorization is subject to Bankruptcy Court approval and

this Stipulation shall become effective upon the order approving this Stipulation becoming a Final

Order.

             10.        In the event of any ambiguity in this Stipulation, no inferences shall be drawn

against any Party on the basis of authorship of this Stipulation.

             11.        This Stipulation may be modified, amended, or supplemented by the Parties, in

writing, and without further order of the Court, provided that any such modification, amendment,



                                                         4
51161451.4 11/01/2023
                    Case 19-11466-MFW          Doc 4944-1      Filed 11/02/23     Page 6 of 7




or supplement either is (a) not material or (b) not less favorable to the Debtors than the existing

applicable provisions without further order of the Court.

             12.        This Stipulation is a fully integrated agreement with each provision being fully

integrated and dependent on each other provision and no provision of this Stipulation may be held

to be unenforceable without this entire Stipulation being held to be unenforceable and no provision

may be “blue penciled” to render such provision enforceable.

             13.        This Stipulation shall be governed by and construed in accordance with the

Bankruptcy Code and, where not inconsistent, the laws of the State of Delaware, without regard

to the conflict of laws’ principles thereof. This Stipulation shall be binding upon and inure to the

benefit of the Parties and their respective successors, assignees, designees, agents, attorneys and

representatives.

             14.        This Stipulation may be executed in one or more counterparts, including by

facsimile and/or electronic mail, each of which when so executed shall be deemed to be an original,

and all of which, when taken together, shall constitute one and the same Stipulation.

             15.        The Parties acknowledge and agree that the Court shall retain jurisdiction over all

disputes concerning or related to the subject matter of this Stipulation.



                                   [remainder of page left intentionally blank]




                                                         5
51161451.4 11/01/2023
                    Case 19-11466-MFW   Doc 4944-1     Filed 11/02/23    Page 7 of 7




             IN WITNESS WHEREOF, the Parties by and through their duly authorized respective

counsel hereby execute this Stipulation as of the date first written above, intending to be legally

bound.

 SAUL EWING LLP                                      STEPHAN ZOURAS, LLP


 /s/ Monique B. DiSabatino                           /s/ David J. Cohen
 Mark Minuti (DE Bar No. 2659)                       David J. Cohen, Esq.
 Monique B. DiSabatino (DE Bar No. 6027)             Jim Zouras, Esq.
 1201 N. Market Street, Suite 2300                   Anna Ceragioli, Esq.
 P.O. Box 1266                                       604 Spruce Street
 Wilmington, DE 19899                                Philadelphia, PA 19106
 Telephone: (302) 421-6800                           Telephone: (215) 873-4836
 mark.minuti@saul.com                                dcohen@stephanzouras.com
 monique.disabatino@saul.com                         jzouras@stephanzouras.com
                                                     aceragioli@stephanzouras.com
               -and-
                                                     Counsel to Joelle Leone and Michael Winn
 Jeffrey C. Hampton
 Adam H. Isenberg
 Centre Square West
 1500 Market Street, 38th Floor
 Philadelphia, PA 19102
 Telephone: (215) 972-7777
 Fax: (215) 972-7725
 jeffrey.hampton@saul.com
 adam.isenberg@saul.com

 Counsel for the Debtors and Debtors in
 Possession




                                                6
51161451.4 11/01/2023
